     Case: 1:19-cv-07555 Document #: 91 Filed: 08/07/20 Page 1 of 1 PageID #:706




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Mori Lee, LLC                               )
                                            )
v.                                          )      Case No. 1:19-cv-7555
                                            )
THE PARTNERSHIPS and                        )      Judge: Matthew F. Kennelly
UNINCORPORATED ASSOCIATIONS                 )
IDENTIFIED ON SCHEDULE “A,”                 )      Magistrate: Young B. Kim
                                            )
                                            )


                            SATISFACTION OF JUDGEMENT

       Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

 Doe        Store Name          Merchant ID
 103        Fannydress          A3UP8BH3G61SUB


dismisses them from the suit without prejudice.

Dated this 7th Day of August 2020.          Respectfully submitted,


                                            By:      s/David Gulbransen/
                                                   David Gulbransen
                                                   Attorney of Record
                                                   Counsel for Plaintiff

                                                   David Gulbransen (#6296646)
                                                   Law Office of David Gulbransen
                                                   805 Lake Street, Suite 172
                                                   Oak Park, IL 60302
                                                   (312) 361-0825 p.
                                                   (312) 873-4377 f.
                                                   david@gulbransenlaw.com
